                                                         SO ORDERED.


                                                          Dated: February 17, 2023
  1
  2
  3                                                        ______________________________________
                                                           Madeleine C. Wanslee, Bankruptcy Judge
  4
  5
                        IN THE UNITED STATES BANKRUPTCY COURT
  6
                                 FOR THE DISTRICT OF ARIZONA
  7
      In re                                           Chapter 13
  8
      EDWARD HELDMAN III,                             No. 2:22-bk-07610-MCW
  9
                                  Debtor.            ORDER APPROVING MOTION TO
 10                                                  TRANSFER VENUE
 11           Upon consideration of the Motion of William A Homony, Subchapter V Trustee of
 12   ComedyMx LLC and ComedyMx Inc., to Transfer Venue [Docket No. 38] (the “Motion”);
 13   and no objection or other response to the Motion having been filed on the docket of this
 14   case or raised at the hearing on the Motion; and the Court having held a hearing on the
 15   Motion on February 15, 2023, and having made an oral ruling on the Motion as stated on
 16   the record at the hearing; and after due deliberation thereon and sufficient cause appearing
 17   therefor, it is HEREBY ORDERED THAT:
 18           1. The Motion is GRANTED.
 19           2. The above-captioned case pending before this Court, numbered 2:22-bk-07610-
 20   MCW and styled In re: Edward Heldman, III, is transferred to the United States
 21   Bankruptcy Court for the District of Delaware (the “Delaware Bankruptcy Court”).
 22           3. This Order may be subject to ratification by the Delaware Bankruptcy Court, to
 23   the extent the Delaware Bankruptcy Court determines any such ratification is necessary.
 24           4. All existing orders entered by this Court in the above-captioned case, including
 25   but not limited to the Bankruptcy Rule 2004 Order entered at Docket No. 31, remain valid
 26   and in full force and effect and the Debtor must comply accordingly.
 27           DATED AND SIGNED ABOVE.
 28


Case 2:22-bk-07610-MCW
       28786812              Doc 49 Filed 02/17/23 Entered 02/21/23 09:29:08          Desc
                             Main Document    Page 1 of 1
